Form 6682 8:21-cv;00667-MSS-Aas, Pegument 13 fled A8(LA/216.Page 1 of 2 PagelD 11

 

(Rev. July 2005) Final Demand for Payment

To Daie

ROCK SOLID CONSTRUCTION SERVICES LL 05/02/2019
3905 KEENE RD

PLANT CITY, FL 33565

 

 

On March 21, 2019, a notice of levy was served on ROCK SOLID CONSTRUCTION SERVICES LL at PLANT CITY, FL. The notice of

 

levy attached property, rights to property, money, creaiis, and bank oeposits then in your possassion, io the credit of, belonging to, or owned by
TRAVIS R SCOTT. of LAKELAND, FL. Identifying Number(s) {EE 972. When the notice was served, that person owed and still owes the
United States $54,775.98. Demand was made on you for the amount shown in the notice of levy, or for any smaller amount you owed the
taxpayer, but we have not received your payment. Conseauently, additional interest and penalty charges have accrued in the total amount
of -$214.80.
Please see section 6332 of the internal Revenue Code on the back of this form.

Demand is again made for $54,921.53, 142 amicunt shown in the notice of levy plus the additional accruals, or for any smaller amount
you owed the taxpayer when the notice of levy was served. Send us payment as expiained in the instructions received on the levy within 5
days of getting this demand. If you con't pay within 5 days, we will consider you to have refused our demand and we may then enforce Code

Section 6332. ZO)
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If someone other than tHE texpayeyfes a claim against this property, please complete the back of this form.

 

 

 

 

 

 

 

Signature } Address (City and State}

CYNTHIA D. SPRY 3848 W. ow DRIVE
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Title | Teidaks te Nuria MAIL STOP 5:

REVENUE OFFICER | (813)302-5531 a TAMPA, Fi. 3807 5768

 

 

 

 

 

Certification of Service
| certify that this Final Demand was served by handing a copy to:

n Koya nat Pacheco | Vite Mae
7a

Date 520K

 

 

 

 

 

 
 

 

 

 

 

Part 1- TDA File Www.ifs gov Form 668-C (Rev. 7-2005)
Case 8:21-cv-00667-MSS-AAS Document 1-3 Filed 03/19/21 Page 2 of 2 PagelD 12

 

   
  
   

 

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paragraph (1), if any person required to surrence "propery or rights to property fails or
refuses fo surrender such property to rights fo proper out reesonable cause, such

person shall be eels for a penalty equal to 50 percent of the arnount recoverable under
paragraph (1). No part of such panalty shail be credited inst the tax lability for the

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If someone other than the faxpayer has asseried a claim(s) to the property, rights io
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Form 668-6 (Rev, 7-2005)
